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A 0 2453 (Rev 06/05) Sheet 1 - Judgment in a Criminal Case



                                 UNITED STATES DISTRICT COURT
                                                             MIDDLE DIS'I'IIICT OF FLORIDA
                                                                  TAh4PA DIVISION



                                                                       JUDGMENT IN A CRIMINAL CASE

                                                                        CASE NUMBER:       8:06-cr-483-T-23TBM
                                                                        USM NUMBER:        49135-018



JUAN CARLOS SEQUEIRA
                                                                        Defendant's Attorney: Juan Dejesus Gonzalez, ret

THE DEFENDANT:

X       pleaded guilty to count ONE of the Indictment.


TITLE & SECTION                           NATUREOFOFFENSE                                OFFENSE ENDED                     COUNT

21 U.S.C. $8 846 and                      Co~lspiracyto Manufacture a Quantity           Novelnber 7, 2006                  ONE
84 1(b)(l)(A)(vii)                        of Marijuana Plants


The defendant is scntencccl as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.


IT IS FURTHER ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restilution, costs, and special assessments imposed by this judgment
are fully paid.

If ordered to pay restitution, the defendant must notify the court and United States Attorney of any material change in economic
circumstances.


                                                                                         Date of I~npositionof Sentence: August 7, 2007




                                                                                                                                  1

                                                                                              STEVEN D. MERRYDAY                          I
                                                                                         UNITED STATES DISTRICT JUDGE

                                                                                         DATE: Augusr      7R,2007
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A 0 245B (Rev 06/05) Shcet 2 - lmprison~nent(Judy~nentin a Criminal Case)
Defendant:           JUAN CARLOS SEQUEIRA                                                            Judgment - Page L of 6--
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The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of
THIRTY-SIX (36) hfONTHS.




  X The court ~nakesthe following recommendations to the Bureau of Prisons: (1) confinement at FCI Coleman, FL and
( 3 ) participation in the 500-Hour Comprehensive Drug Treatment Program



  X The defendant is remanded to the custody of the United States Marsl~al.
- The defendant shall surrender to the United States Marshal for this district.

            - at - a.m.1p.m. on -.
            - as notitied by the United Stales hiIarsllal

- The dekndant shall surreilder for service of sentence at the institution designated by the Bureau of Prisons.

            - before 2 p.m. on -.
            - as notified by the United States Marshal.
            - as notiiied by the Probation or Pretrial Services Office.




                                                                        RETURN

            I have cxecutcd this judg~nenlas follows:




            Defendant delivered on                                               to

-      at                                                                    , with a certified copy of this judgment.


                                                                                      United States Marshal


                                                                                      Deputy United States Marshal
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A 0 245B (Rev. 06/05) Sheel 3 - Supervised Release (Judgment in a Criminal Case)

Defendant :           JUAN CARLOS SEQUEIRA                                                                        Judgmenl - Page 3of 6
Case No. :            8:06-cr-483-T-23TBM

                                                              SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of SEVENTY-TWO (72) MONTHS.

The defendant must report 10 the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state, or local crime, and shall not possess a firearm,
ammunition, or destructive device as defined in 18 U.S.C. 5 921.

X
-          The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a
           controlled substance. Based on the probation officer's determination that additional drug urinalysis is necessary, the Court
           authorizes random drug testing not to exceed 103 tests per year.

X          The defendant shall cooperate in the collection of DNA as directed by the probation officer.

IS this judgn~entimposes a fine or restitution it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.
                                               STANDARD CONDITIONS OF SUPERVISION
        the defcndant shall not leave the judicial district without the permission of the court or probation officer;

        the defendant shall report to the probation officer and shall submit a truthful and conipletc written report within the first five days of each
        month;

        the defendant shrill answcr truthfully dl inquiries by the probation officer and folloiv the instructions of the probation officer;

        the dcfendant shall support his or her dependents and meet othcr f m i l y rcsponsibilities;

        the defendant shall ivork regularly at a lawful occupation, unless excused by the probation officer for schoolin_e, training, or other- acceptable
        rcc~so~is;

        the dcfendant shall notify rhc probation officer at least ten days p~iorto any change in residence or employment;

        the dcfendant shall rcfrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
        substmce or any paraphernalia rclated to any controlled substances, except as prescribed by a physician;

        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or adrninistcred;

        the dcfendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
        unless granted permission to do so by the probation officer;

        the defendant shall pcr-mit a prob~ltionofficer to 1 isit him or her at any time at home or elsewlicre and shall pcnnit confiscation of any
        conlrabmd observcd 111pla~nvlcw of the probation officcr;

        the defendant shall notify the probation officer within sevcnty-two hours of being arrested or questioned by a law enforccrnent officer;

        the dcrendant shall not enlcr into any agreement to act as an infomicr or a special agcnt of a law enforcement agency without the permission
        of the court; and

        as directed by the probation officer, the dcfendant shall notify third parties of risks that niay be occasioncd by the defendant's criminal record
        or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the dcfcndant's
        compliance with such notification requirement.
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Defendant:       JUAN CARLOS SEQUEIRA                                                                Judgment - Page 4 of 6
Case No. :       8:06-cr-383-T-23T~M
                                       SPECIAL CONDITIONS OF SUPERVISION

        The defendant shall also comply with the following additional conditions of supervised release:


-
X       The defendant shall participate in a program (outpatient andlor inpatient) for treatment 01' narcotic addiction or drug or alcohol
        dependency and follow tllr probation officer's instructions regarding the implementalion of this court chrective. This program may
        include testing for [he delection of substance use or abuse. Further, the defendant shall be required to contribute to the costs of
        services for such treatment not to exceed an amount determined reasonable by the Probation Oflice's Sliding Scale for Substance
        Abuse Treatment Services. Upon completion of a drug or alcohol dependency treatment program, the defendant is directed to
        submit to testing for the detection of substance use or abuse not to exceed 104 times per year.

X
-       If the defendant is deported, he shall not re-enter the United States without the express permission of the appropriate
        governmental authority, currently the United States Department of Homeland Security.
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A 0 245B (Rev 06!05:1S h r e ~5 - Criminal Monetary Penallies (Judgment in a Criminal Case)

Defendant:            JUAN CARLOS SEQUEIRA                                                                        Judgment - Page 5--   of 6
Case No. :            8:06-cr-483-T-23TBM

                                                   CRIlMINAL MONETARY PENALTIES

           The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                 Assessment                                   Fine                         Total Restitution

           Totals:


           The determination of restitution is deferred until                     . A11 Amended Jm!g~)lerzfin a Crir~~irzal
                                                                                                                         Case ( A 0 245C) will be
           entered after such determination.
-          The defendant must make restitution (including community restitution) to the following payees in the amount listed
           below.
           If the defendant makes a partial payment, each payce shall receive an approximately proportioned payment, unless
           specified otherwise in the priority order or percentage pa ment column below. However, pursuant to 18 U.S.C. 5
           3664(i), all non-federal victi~nsmust be paid before the dnited States.


Name of Payee                                          Total Loss*                       Restitution Ordered                Priority or Percentage




                                 Totals:               L-                                $


             Restitution amount ordered pursuant to plea agreement $
             The defendant 111ust pay interest on a tine or restitution of more than $2,500, unless the restitution or fine is paid in full
             bcfore the fifteenth day after the date of the judgment, pursuant to 18 U.S .C. 3 36 12(f). All of the payment options on Sheet
             6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. 36 12(g).
             The court determined that the defendant does not have the ability to pay interest and it is ordered that:
           -           the interest requirement is waivcd for the - fine                      - restitution.

           -           the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Cha ters 109A, 110, 1 lOA, and 113A of Title 18 for the offenses
committed on or after September 13, 1994, but before April 23, 1896.
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A 0 245B (Rev 06/05) Sheer 6 - Schedule of Payments (Judgment in a Criminal Case)

Defendant:           JUAN CARLOS SEQUEIRA                                                             Judgment - Page 6of 6
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                                                          SCHEDULE OF PAYRIENTS



Having assessed the defendant's ability to pay, payment of the total criminal molletary penalties are due as follows:

                      Lump sun1 payment of $ 100.00 due inunediately, balance due
                                 - not later than                         , or

                                 - in accordance - C , - Dl - E or - F below: or
                      Payment to begin immediately (may be combined with -C , -D, or -F below); or
                      Payment in equal                   (e.g., weekly. monthly, quarterly) installments of $             over a
                      period of          (e.g . , n~onthsor years), to commence              days (e.g., 30 or 60 days) after the
                      date of this judgment; or
                      Payment in equal                (e.g., weekly, monthly, quarterly) installments of $              over a
                      period of              (e.g., months or years) to co~nmence
                                                     ?                                              (e.g . 30 or 60 days) after
                      release from imprisonment to a term of supervision: or
                      Payment during the term of supervised release will commence within                          (e.g.. 30 or
                      60 days) afier release from imprisonment. The court will set the payment plan based on an assessment of
                      the defendant's ability to pay at that time, or
                      Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
 enalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
iureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-          Joint and Several
Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate:


-          The defendant shall pay the cost of prosecution.
-          The defendant shall pay the following court cosl(s):
-          The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: ( I ) assessment. (2) restitution principal, (3) restitution interest. (4) fine principal,
( 5 ) fine interest, (6) community restitution. (7) penalties, and (8) costs, including cost of prosecution and court costs.
